
PER CURIAM.
We affirm the sentence imposed. See State v. Cotton, 728 So.2d 251 (Fla. 2d DCA 1998)(holding that the trial court has discretion to determine whether a defendant should be sentenced as a Prison Re-leasee Reoffender under the Prison Re-leasee Reoffender Act). See also Coleman v. State, 24 Fla. L. Weekly D1324, 739 So.2d 626 (Fla. 2d DCA 1999); State v. Cowart, 24 Fla. L. Weekly D1085, - So.2d -, 1999 WL 245876 (Fla. 2d DCA Apr. 28, 1999); State v. Wise, 24 Fla. L. Weekly D657, 744 So.2d 1035 (Fla. 4th DCA 1999). We acknowledge and certify conflict with Woods v. State, 24 Fla. L. Weekly D831, 740 So.2d 20 (Fla. 1st DCA 1999), and McKnight v. State, 727 So.2d 314 (Fla. 3d DCA 1999).
Affirmed; conflict certified.
THREADGILL, A.C.J., GREEN and STRINGER, JJ., Concur.
